              Case 1:09-cr-00369-AWI Document 107 Filed 05/04/12 Page 1 of 2



 1   Jeffrey T. Hammerschmidt, #131113
     Mark A. Broughton, #079822
 2   Laura M. Bragg, #272052
     HAMMERSCHMIDT BROUGHTON LAW CORPORATION
 3   2445 Capitol Street, Suite 150
     Fresno, CA 93721
 4   Tel: (559) 233-5333
     Fax: (559) 233-4333
 5
     Attorney for Defendant, Michael Ho
 6

 7

 8
                       IN THE UNITED STATES DISTRICT COURT FOR THE
 9
                                EASTERN DISTRICT OF CALIFORNIA
10

11                                                  )
     UNITED STATES OF AMERICA,                      ) Case No.: 1:09-cr-00369 AWI
12                                                  )
                   Plaintiff,                       )
13                                                  ) STIPULATION REGARDING
            vs.                                     ) SENTENCING
14                                                  )
     MICHAEL HO,                                    )
15                                                  )
                   Defendant                        )
16

17          IT IS HEREBY STIPULATED by and between Jeffrey T. Hammerschmidt, attorney for
18   defendant MICHAEL HO, and Kathleen Servatius, Assistant United States Attorney, that the
19   sentencing be continued from May 7, 2012, at 1:00 p.m., to July 9, 2012, at 1:00 p.m.
20

21   Dated: May 4, 2012                          /s/ Kathleen Servatius
                                                 Kathleen Servatius
22                                               Assistant U.S. Attorney
23

24
     Dated: May 4, 2012                          /s/ Jeffrey T. Hammerschmidt
25                                               Jeffrey T. Hammerschmidt
                                                 Attorney for Defendant,
26
                                                 Michael Ho
27

28




                                                    1
                            Case 1:09-cr-00369-AWI Document 107 Filed 05/04/12 Page 2 of 2



 1

 2

 3

 4

 5

 6

 7

 8
                                     IN THE UNITED STATES DISTRICT COURT FOR THE
 9
                                              EASTERN DISTRICT OF CALIFORNIA
10

11                                                          )
     UNITED STATES OF AMERICA,                              ) Case No.: 1:09-cr-00369 AWI
12                                                          )
                                 Plaintiff,                 )
13                                                          )
           vs.                                              )
14                                                          )
     MICHAEL HO,                                            )
15                                                          )
                                 Defendant                  )
16

17
                                                          ORDER
18
           IT IS ORDERED that the May 4, 2012 sentencing date is vacated.
19
           IT IS ORDERED that the sentencing will now occur on July 9, 2012 at 1:00 p.m.
20

21

22

23
     IT IS SO ORDERED.
24
     Dated: May 4, 2012
25                                                   CHIEF UNITED STATES DISTRICT JUDGE
           DEAC_Signature-END:




26
           9h0d30bb
27

28




                                                            2
